Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 1 of 23. PageID #: 5
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 2 of 23. PageID #: 6
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 3 of 23. PageID #: 7
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 4 of 23. PageID #: 8
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 5 of 23. PageID #: 9
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 6 of 23. PageID #: 10
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 7 of 23. PageID #: 11
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 8 of 23. PageID #: 12
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 9 of 23. PageID #: 13
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 10 of 23. PageID #: 14
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 11 of 23. PageID #: 15
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 12 of 23. PageID #: 16
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 13 of 23. PageID #: 17
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 14 of 23. PageID #: 18
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 15 of 23. PageID #: 19
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 16 of 23. PageID #: 20
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 17 of 23. PageID #: 21
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 18 of 23. PageID #: 22
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 19 of 23. PageID #: 23
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 20 of 23. PageID #: 24
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 21 of 23. PageID #: 25
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 22 of 23. PageID #: 26
Case: 1:12-cv-02965-WHB Doc #: 1-1 Filed: 12/03/12 23 of 23. PageID #: 27
